               Case 2:20-cv-02012-RDP Document 178 Filed 08/18/22 Page 1 of 2                                      FILED
                                                                                                          2022 Aug-18 PM 02:15
                                                                                                          U.S. DISTRICT COURT
                                                                                                              N.D. OF ALABAMA


                                 UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION
 D.S.,                                                  }
                                                        }
               Plaintiff,                               }
                                                        }
 v.                                                     }    Case No.: 2:20-CV-2012-RDP
                                                        }
 JEFFERSON DUNN, et al.,                                }
                                                        }
               Defendants.                              }


                                           AMENDED ORDER

           In accordance with the June 1, 2022 Memorandum Opinion and the contemporaneously

entered Memorandum Opinion, the court’s June 1, 2022 Order is AMENDED as follows:

           The following claims are DISMISSED WITHOUT PREJUDICE:

      1.   Count III against Defendant Malone;
      2.   Count V against Defendants Gordy and Ragsdale;
      3.   Count VII against Defendants Estelle, Ary, and Bonner;
      4.   Count VIII against Defendant Boyd;
      5.   Count X against All St. Clair Defendants; and
      6.   Count XI.

           The case shall proceed on the following claims:

      1.   Count I against Defendants Dunn, Culliver, Daniels, Williams, and Ellington;
      2.   Count II against Defendants Jones, Givens, Brooks, Sanders, Malone, White, and Graham;
      3.   Count III against Defendants Jones, Givens, Brooks, and White;
      4.   Count IV against Defendants Vincent, Gordy, and Ragsdale;
      5.   Count VI against Defendant Estelle;
      6.   Count IX against Defendants Estelle, Ary, and Gordy;
      7.   Count XII against all Defendants1; and
      8.   Count XIII against all Defendants.




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         Defendants Dunn, Culliver, Daniels, Williams, Ellington, Jones, Givens, Brooks, Sanders, Malone, White,
Graham, Vincent, Gordy, Ragsdale, Estelle, Ary, Bonner; McMillian, Boyd, and McLemore.
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DONE and ORDERED this August 18, 2022.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




                                 2
